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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,
 Plaintiffs,
     v.                                                     5:21-cv-844-XR

 GREGORY W. ABBOTT, et al.,
 Defendants.


 OCA-GREATER HOUSTON, et al.,
 Plaintiffs,
     v.                                                     1:21-cv-0780-XR

 JANE NELSON, et al.,
 Defendants.


    ORDER GRANTING MOTION TO WITHDRAW APPEARANCE AS COUNSEL

       Upon consideration of OCA Plaintiffs’ Unopposed Motion to Withdraw Counsel, and the

Court’s consideration of said Motion, it is hereby:

       ORDERED that OCA Plaintiffs’ Unopposed Motion to Withdraw Counsel is GRANTED.

The appearance of Andre Segura and Samantha Osaki as counsel for OCA Plaintiffs is withdrawn,

and they shall be removed from all service lists pertaining to this action. OCA Plaintiffs will

continue to be represented by their remaining counsel of record.



Date: ________________, 2023                          ____________________________________
                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE
